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  The relief described hereinbelow is SO ORDERED.

  Signed April 27, 2022.


                                                      __________________________________
                                                                  Ronald B. King
                                                          United States Bankruptcy Judge



                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

         IN RE:                                        §       CHAPTER 11
                                                       §
         KRISJENN RANCH, LLC                           §       CASE NO. 20-50805-rbk
                                                       §
                                                       §
                   DEBTOR                              §          (Jointly Administered)

    ORDER ON KRISJENN RANCH, LLC, KRISJENN RANCH LLC, SERIES UVALDE
         RANCH, AND KRISJENN RANCH, LLC, SERIES PIPELINE ROW’S
           MOTION FOR ENTRY OF FINAL DECREE CLOSING CASE

          Came on this date before the Court to be considered KrisJenn Ranch, LLC, KrisJenn

   Ranch LLC, Series Uvalde Ranch, and KrisJenn Ranch LLC, Series Pipeline Row, LLC’s

   Motion for Entry of Final Decree Closing Cases Numbers 20-50805, 20-51083, and 20-51084,

   respectively (the “Motion”), filed by KrisJenn Ranch, LLC, KrisJenn Ranch LLC, Series

   Uvalde Ranch, and KrisJenn Ranch LLC, Series Pipeline Row, LLC (hereinafter the “Debtors”),

   Reorganized Debtor in this Chapter 11 proceeding. After consideration of the pleadings and

   arguments of counsel, as well as the Court finding notice was proper to the necessary parties

   and objections to such closing having been resolved, this Court is of the opinion that the relief
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   Requested in the Motion is

           GRANTED; and it is:

           Further ORDERED that, within ten (10) days of entry of this order, Reorganized

   Debtors shall file a post confirmation quarterly report for the second quarter of 2022 up through

   the entry date of this order; and it is

           Further ORDERED that Debtors shall timely pay to the United States Trustee the

   appropriate quarterly fees which are due and payable pursuant to 28 U.S.C. § 1930(a)(6). The

   payments must reflect debtors’ account numbers and be remitted either: (i) electronically

   through pay.gov at https://www.pay.gov/public/form/start/672415208; or, (ii) by mail to the

   U.S. Bank lockbox (which upon receipt may take up to 72 hours to process) at United States

   Trustee Payment Center, P.O. Box 6200-19, Portland, OR 97228-6200, and it is

          Further ORDERED that, this entry of final decree is without prejudice to the rights of

   the Reorganized Debtors or any other party in interest to seek to reopen these cases for good

   cause shown and it is

          Further ORDERED that, his Court shall retain jurisdiction to enforce or interpret its own

   orders pertaining to the Chapter 11 Cases and over the Reorganized Debtors to the extent and

   for the purposes set forth in the plan. Furthermore, the Court shall retain jurisdiction over any

   pending matter in the Chapter 11 Cases as of the date hereof and it is

         Further, ORDERED, ADJUDGED, AND DECREED that these proceedings are hereby

  CLOSED.

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  SUBMITTED AND ENTRY
  REQUESTED BY

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